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                        17SL-CC01069 - BPP V HENRY SCHEIN, INC. ET AL (E-CASE)


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                                                                                      Descending
                                                                                                                          All Entries    
                                                                                      Ascending


03/22/2017        Judge Assigned

                  DIV 18
                  Pet Filed in Circuit Ct

                  Class Action Junk-Fax Petition; Ex 1 Junk Fax.
                  Motion Special Process Server

                  Request for Appointment of Special Process Server. APPROVED ON 3/22/17.
                    Filed By: RONALD JAY EISENBERG
                    On Behalf Of: BPP
                  Note to Clerk eFiling

                     Filed By: RONALD JAY EISENBERG
                  Filing Info Sheet eFiling

                     Filed By: RONALD JAY EISENBERG
                  Summons Issued-Circuit

                  Document ID: 17-SMCC-2261, for HENRY SCHEIN, INC..Summons Attached in PDF Form for Attorney to
                  Retrieve from Secure Case.Net and Process for Service.
                  Summ Issd- Circ Pers Serv O/S

                  Document ID: 17-SMOS-273, for INTERGRATED MEDIA SOLUTIONS.Summons Attached in PDF Form
                  for Attorney to Retrieve from Secure Case.Net and Process for Service.
                  Corporation Served

                  Document ID - 17-SMCC-2261; Served To - HENRY SCHEIN, INC.; Server - ; Served Date - 22-MAR-17;
                  Served Time - 00:00:00; Service Type - Special Process Server; Reason Description - Served; Service
                  Text - ERIN HOLBROOK, REGIONAL MANAGER
                  Affidavit Filed

                  Return of Service on Henry Schein Inc.
                    Filed By: RONALD JAY EISENBERG
                    On Behalf Of: BPP

04/10/2017        Affidavit Filed

                  Affidavit of Service Summons and Petition on Integrated Media Solutions.
                      Filed By: RONALD JAY EISENBERG
                      On Behalf Of: BPP

04/14/2017        Agent Served

                  Document ID - 17-SMOS-273; Served To - INTERGRATED MEDIA SOLUTIONS; Server - ; Served Date -
                  29-MAR-17; Served Time - 14:00:00; Service Type - Sheriff Department; Reason Description - Served



                                                                                                                          EXHIBIT A
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                           4/20/2017
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                  IN THE MISSOURI CIRCUIT COURT
              FOR THE TWENTY-FIRST JUDICIAL CIRCUIT
                       COUNTY OF ST. LOUIS

 BPP,                                         )
                                              )
      Plaintiff,                              )
 v.                                           )
                                              )
                                              )   JURY TRIAL DEMANDED
 HENRY SCHEIN, INC.,                          )
                                              )
      Serve:                                  )
      Person in Charge                        )
      17897 Chesterfield Airport Rd           )
      Chesterfield, MO 63005                  )
                                              )
      and                                     )
                                              )
 INTERGRATED MEDIA                            )
 SOLUTIONS d/b/a                              )
 INTERGRATED MEDIA                            )
 SOLUTIONS, LLC and d/b/a                     )
 DENTAL PRODUCT SHOPPER,                      )
                                              )
      Serve:                                  )
      Person in Charge                        )
      500 Craig Rd., Suite 101                )
      Manalapan, NJ 07726                     )
                                              )
      Defendants.                             )

                    CLASS ACTION JUNK-FAX PETITION

        Plaintiff BPP brings this junk-fax class action, on behalf of itself and all

 others similarly situated, against Defendants under the Telephone Consumer

 Protection Act of 1991, as amended by the Junk Fax Prevention Act of 2005, 47

 U.S.C. § 227, and the regulations promulgated thereunder (TCPA).

                   PARTIES, JURISDICTION, AND VENUE

        1.    Plaintiff BPP is a fictitious name registered with the Missouri


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 Secretary of State for a Missouri corporation with its principal place of business

 in St. Louis County, Missouri.

        2.      Defendant Henry Schein, Inc. (“Schein”), is a New York company,

 has its principal place of business in New York, is registered with the Missouri

 Secretary of State, and has an office in Chesterfield, Missouri.

        3.      Defendant Integrated Media Solutions, LLC d/b/a Integrated

 Media Solutions d/b/a Dental Product Shopper (“Integrated Media”) is a New

 Jersey limited liability company with principal place of business in Manalapan,

 New Jersey.

        4.      Integrated Media is not registered with the Missouri Secretary of

 State to transact business in Missouri.

        5.      Integrated Media launched the Dental Product Shopper magazine

 in the fall of 2007 to provide product information and evaluations from dentists

 to dentists.

        6.      This Court has personal jurisdiction over Defendants under 47

 U.S.C. § 227(b)(3), because Defendants sent at least one illegal fax into Missouri,

 Defendants transact business within this state, including the promotion and

 advertising of services and products to manage dental office security and create

 “Smart Practice” dental offices within this state, Defendants possess or use real

 estate in Missouri, Defendants make contracts in Missouri, and Defendants have

 committed tortious acts within this state, including conversion of fax recipients’

 paper, ink, and toner and invading their right to privacy.

        7.      Venue is proper under Missouri Revised Statutes § 508.010.2.

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                                THE FAX
        8.     On or about October 25, 2016, Defendants used a telephone

 facsimile machine, computer, or other device to send to Plaintiff’s telephone

 facsimile machine at (314) 991-4682 an unsolicited advertisement, a true copy of

 which is attached as Exhibit 1 (Fax).

        9.     Plaintiff received the Fax through Plaintiff’s facsimile machine.

        10.    The Fax constitutes material advertising the quality or commercial

 availability of any property, goods, or services.

        11.    On information and belief, Defendants has sent other facsimile

 transmissions of material advertising the quality or commercial availability of

 property, goods, or services to Plaintiff and to at least 100 other persons as part

 of a plan to broadcast fax advertisements, of which the Fax is an example, or,

 alternatively, the Fax was sent on behalf of Defendants.

        12.    Defendants approved, authorized and participated in the scheme to

 broadcast fax advertisements by (a) directing a list to be purchased or assembled,

 (b) directing and supervising employees or third parties to send the faxes, (c)

 creating and approving the fax form to be sent, and (d) determining the number

 and frequency of the facsimile transmissions.

        13.    Defendants had a high degree of involvement in, actual notice of, or

 ratified the unlawful fax broadcasting activity and failed to take steps to prevent

 such facsimile transmissions.




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        14.   Defendants created, made, or ratified the sending of the Fax and

 other similar or identical facsimile advertisements, which Defendants sent to

 Plaintiff and to other members of the “Class” as defined below.

        15.   The    Fax,   and   the   other     similar   or   identical   facsimile

 advertisements, sent by or on behalf of Defendants, is part of Defendants’ work

 or operations to market Defendants’ products, goods, or services.

        16.   The Fax sent to Plaintiff, and the other facsimile advertisements

 sent by Defendants, lacked a proper notice informing the recipient of the ability

 and means to avoid future unsolicited advertisements.

        17.   The Fax requests recipients to register at Schein’s website:

 www.HSTechCentral.com/Vivint/KansasCity and informs recipients to “join

 TechCentral” to manage dental office security.

        18.   “TechCentral” provides technical services to Schein’s customers.

        19.   The Fax notice states recipients received the fax because they

 received “Dental Product Shopper Magazine.”

        20.   Under the TCPA and 47 C.F.R. § 64.1200(a)(4)(iii), the opt-out

 notice required for all facsimile advertisements must meet the following criteria:

        (A)   The notice is clear and conspicuous and on the first page of
              the advertisement;

        (B)   The notice states that the recipient may make a request to
              the sender of the advertisement not to send any future
              advertisements to a telephone facsimile machine or
              machines and that failure to comply, within 30 days, with
              such a request meeting the requirements under paragraph
              (a)(4)(v) of this section is unlawful;



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        (C)   The notice sets forth the requirements for an opt-out request
              under paragraph (a)(4)(v) of this section

        (D)   The notice includes—

              (1)    A domestic contact telephone number and facsimile
                     machine number for the recipient to transmit such a
                     request to the sender; and
              (2)    If neither the required telephone number nor
                     facsimile machine number is a toll-free number, a
                     separate cost-free mechanism including a Web site
                     address or e-mail address, for a recipient to transmit a
                     request pursuant to such notice to the sender of the
                     advertisement. A local telephone number also shall
                     constitute a cost-free mechanism so long as recipients
                     are local and will not incur any long distance or other
                     separate charges for calls made to such number; and

        (E)   The telephone and facsimile numbers and cost-free
              mechanism identified in the notice must permit an
              individual or business to make an opt-out request 24 hours a
              day, 7 days a week.

        21.   Senders of fax ads must include certain information in an opt-out

 notice on the fax, even if the recipient previously agreed to receive fax ads from

 such senders. See 47 C.F.R. § 64.1200(a)(4)(iv).

        22.   Senders of fax ads must comply fully with the opt-out notice

 requirements of 47 C.F.R. § 64.1200(a)(4)(iii).

        23.   The Fax and Defendants’ similar facsimile advertisements lacked a

 notice stating that the recipient may make a request to the sender of the

 advertisement not to send future advertisements to a telephone facsimile

 machine or machines and that failure to comply, within 30 days, with such a

 request meeting 47 C.F.R. § 64.1200(a)(4)(v)’s requirements is unlawful.




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        24.    The transmissions of facsimile advertisements, including the Fax,

 to Plaintiff, lacked a notice that complied with 47 U.S.C. § 227(b)(1)(C) and 47

 C.F.R. § 64.1200(a)(4)(iii).

        25.    On information and belief, Defendants faxed the same or other

 substantially similar facsimile advertisements to the members of the Class in

 Missouri and throughout the United States without first obtaining the recipients’

 prior express invitation or permission.

        26.    Defendants violated the TCPA by transmitting the Fax to Plaintiff

 and to the Class members without obtaining their prior express invitation or

 permission and by not displaying the proper opt-out notice required by 47 C.F.R.

 § 64.1200(a)(4).

        27.    Defendants knew or should have known that (a) facsimile

 advertisements, including the Fax, were advertisements, (b) Plaintiff and the

 other Class members had not given their prior invitation or permission to receive

 facsimile advertisements, (c) no established business relationship existed with

 Plaintiff and the other Class members, and (d) Defendants’ facsimile

 advertisements did not display a proper opt-out notice.

        28.    Defendants failed to determine correctly the legal restrictions on

 the use of facsimile transmissions and the application of those restrictions to

 facsimile advertisements, including the Fax, both to Plaintiff and the Class.

        29.    Pleading in the alternative to the allegations that Defendants

 knowingly violated the TCPA, Plaintiff alleges that Defendants did not intend to

 send transmissions of facsimile advertisements, including the Fax, to any person

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 where the transmission was not authorized by law or by the recipient, and to the

 extent that any transmissions of facsimile advertisement was sent to any person

 and such transmission was not authorized by law or by the recipient, such

 transmission was made based on either Defendants’ own understanding of the

 law or on the representations of others on which Defendants reasonably relied.

        30.    The transmissions of facsimile advertisements, including the Fax,

 to Plaintiff and the Class caused concrete and personalized injury, including

 unwanted use and destruction of their property, e.g., toner or ink and paper,

 caused undesired wear on hardware, interfered with the recipients’ exclusive use

 of their property, occupied their fax machines for the period of time required for

 the electronic transmission of the data, and interfered with their business or

 personal communications and privacy interests.

                        CLASS ACTION ALLEGATIONS

        31.    Plaintiff brings this class action on behalf of the following class of

 persons, hereafter, the “Class”:

        All persons in the United States who on or after four years prior to
        the filing of this action, (1) were sent by or on behalf of Defendants
        a telephone facsimile message of material advertising the
        commercial availability or quality of any property, goods, or
        services, (2) with respect to whom Defendants cannot provide
        evidence of prior express invitation or permission for the sending of
        such faxes, and (3) either (a) with whom Defendants did not have
        an established business relationship, or (b) the fax identified in
        subpart (1) of this definition did not display a clear and conspicuous
        opt-out notice on the first page stating that the recipient may make
        a request to the sender of the advertisement not to send any future
        advertisements to a telephone facsimile machine or machines and
        that failure to comply, within 30 days, with such a request meeting
        the requirements under 47 C.F.R. § 64.1200(a)(4)(v) is unlawful.



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        32.          Excluded from the Class are Defendants, their employees, agents,

  and members of the judiciary.

        33.          This case is appropriate as a class action because:

        a.           Numerosity. On information and belief, based in part on review of

        the sophisticated Fax and online research, the Class includes at least 100

        persons and is so numerous that joinder of all members is impracticable.

        b.           Commonality.     Questions of fact or law common to the Class

        predominate over questions affecting only individual Class members, e.g.:

                i.        Whether Defendants engaged in a pattern of sending
                          unsolicited fax advertisements;
               ii.        Whether the Fax, and other faxes transmitted by or on behalf
                          of Defendants, contains material advertising the commercial
                          availability of any property, goods or services;
              iii.        Whether the Fax, and other faxes transmitted by or on behalf
                          of Defendants, contains material advertising the quality of any
                          property, goods or services;
              iv.         The manner and method Defendants used to compile or obtain
                          the list of fax numbers to which Defendant sent the Fax and
                          other unsolicited faxed advertisements;
               v.         Whether Defendants faxed advertisements without first
                          obtaining the recipients’ prior express invitation or
                          permission;
              vi.         Whether Defendants violated 47 U.S.C. § 227;
              vii.        Whether Defendants willingly or knowingly violated 47 U.S.C.
                          § 227;
             viii.        Whether Defendants violated 47 C.F.R. § 64.1200;
              ix.         Whether the Fax, and the other fax advertisements sent by or
                          on behalf of Defendants, displayed the proper opt-out notice
                          required by 47 C.F.R. § 64.1200(a)(4);
               x.         Whether the Court should award statutory damages per TCPA
                          violation per fax;
              xi.         Whether the Court should award treble damages per TCPA
                          violation per fax; and



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              xii.        Whether the Court should enjoin Defendants from sending
                          TCPA-violating facsimile advertisements in the future.


        c.           Typicality. Plaintiff’s claim is typical of the other Class members’

        claims, because, on information and belief, the Fax was substantially the

        same as the faxes sent by or on behalf of Defendants to the Class, and

        Plaintiff is making the same claim and seeking the same relief for itself and

        all Class members based on the same statute and regulation.

        d.           Adequacy. Plaintiff will fairly and adequately protect the interests

        of the other Class members. Plaintiff’s counsel are experienced in TCPA

        class actions, having litigated more than 60 such cases, and having been

        appointed class counsel in multiple cases. Neither Plaintiff nor its counsel

        has interests adverse or in conflict with the Class members.

        e.           Superiority. A class action is the superior method for adjudicating

        this controversy fairly and efficiently. The interest of each individual Class

        member in controlling the prosecution of separate claims is small and

        individual actions are not economically feasible.

        34.          The TCPA prohibits the “use of any telephone facsimile machine,

  computer or other device to send an unsolicited advertisement to a telephone

  facsimile machine.” 47 U.S.C. § 227(b)(1).

        35.          The TCPA defines “unsolicited advertisement,” as “any material

  advertising the commercial availability or quality of any property, goods, or

  services which is transmitted to any person without that person’s express

  invitation or permission.” 47 U.S.C. § 227(a)(4).


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         36.    The TCPA provides:

         Private right of action. A person may, if otherwise permitted by the
         laws or rules of court of a state, bring in an appropriate court of that
         state:


                (A)    An action based on a violation of this subsection or
                the regulations prescribed under this subsection to enjoin
                such violation,


                (B)    An action to recover for actual monetary loss from
                such a violation, or to receive $500 in damages for each such
                violation, whichever is greater, or


                (C)    Both such actions.


  47 U.S.C. § 227(b)(3)(A)-(C).

         37.    The TCPA also provides that the Court, in its discretion, may treble

  the statutory damages if a defendant “willfully or knowingly” violated Section

  227(b) or the regulations prescribed thereunder.

         38.    Because the TCPA is a strict liability statute, Defendants are liable

  to Plaintiff and the Class even if Defendants only acted negligently.

         39.    Defendants’ actions caused concrete and particularized harm to

  Plaintiff and the Class, as

         a.     receiving Defendants’ faxed advertisements caused the recipients to

                lose paper and toner consumed in printing Defendants’ faxes;

         b.     Defendants’ actions interfered with the recipients’ use of the

                recipients’ fax machines and telephone lines;




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         c.     Defendants’ faxes cost the recipients time, which was wasted time

                receiving, reviewing, and routing the unlawful faxes, and such time

                otherwise would have been spent on business activities; and

         d.     Defendants’ faxes unlawfully interrupted the recipients’ privacy

                interests in being left alone and intruded upon their seclusion.

         40.    Defendants intended to cause damage to Plaintiff and the Class, to

   violate their privacy, to interfere with the recipients’ fax machines, or to

   consume the recipients’ valuable time with Defendants’ advertisements;

   therefore, treble damages are warranted under 47 U.S.C. § 227(b)(3).

         41.    Defendants knew or should have known that (a) Plaintiff and the

   other Class members had not given express invitation or permission for

   Defendant or anyone else to fax advertisements about Defendants’ property,

   goods, or services, (b) Defendants did not have an established business

   relationship with Plaintiff and the other Class members, (c) the Fax and the

   other facsimile advertisements were advertisements, and (d) the Fax and the

   other facsimile advertisements did not display the proper opt-out notice.

         42.    Defendants violated the TCPA by transmitting the Fax to Plaintiff

   and substantially similar facsimile advertisements to the other Class members

   without obtaining their prior express invitation or permission and by not

   displaying the proper opt-out notice required by 47 C.F.R. § 64.1200(a)(4)(iii).




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        WHEREFORE, Plaintiff, individually and on behalf of the Class, demands

  judgment against Defendants, jointly and severally, as follows:

        a.     certify this action as a class action and appoint Plaintiff as Class
               representative;
        b.     appoint the undersigned counsel as Class counsel;
        c.     award damages of $500 per TCPA violation per facsimile pursuant
               to 47 U.S.C. § 227(a)(3)(B);
        d.     award treble damages up to $1,500 per TCPA violation per
               facsimile pursuant to 47 U.S.C. § 227(a)(3);
        e.     enjoin Defendants and its contractors, agents, and employees from
               continuing to send TCPA-violating facsimiles pursuant to 47 U.S.C.
               § 227(a)(3)(A);
        f.     award class counsel reasonable attorneys’ fees and all expenses of
               this action and require Defendants to pay the costs and expenses of
               class notice and claim administration;
        g.     award Plaintiff an incentive award based upon its time expended
               on behalf of the Class and other relevant factors;
        h.     award Plaintiff prejudgment interest and costs; and
        i.     grant Plaintiff all other relief deemed just and proper.


                  DOCUMENT PRESERVATION DEMAND

        Plaintiff demands that Defendants take affirmative steps to preserve all

  records, lists, electronic databases, or other itemization of telephone or fax

  numbers associated with the Defendants and the communication or

  transmittal of advertisements as alleged herein.




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                                       SCHULTZ & ASSOCIATES LLP

                                           By: /s/ Ronald J. Eisenberg
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                                               (314) 481-6733
                                               Fax: (314) 481-6732
                                               pmhlth@aol.com

                                               Attorney for Plaintiff




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                                                                                  Ex. 1
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In the
CIRCUIT COURT                                                                               ┌                              ┐
                                                                                                   For File Stamp Only
Of St. Louis County, Missouri
                                                       March 22, 2017
                                                      _________________________
 BPP
__________________________________________            Date
Plaintiff/Petitioner
                                                      _________________________
                                                      Case Number
vs.
                                                      _________________________
 HENRY SCHEIN, INC., et al.
__________________________________________            Division

                                                                                            └                              ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff                                               pursuant
                                            Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Janet Momanyi, 11317 Brierhall Circle, Maryland Heights, MO 63043     314-814-4980
        Name of Process Server                      Address                                                    Telephone

        ___________________________________________________________________________
        Name of Process Server                      Address or in the Alternative                              Telephone

        ___________________________________________________________________________
        Name of Process Server                      Address or in the Alternative                              Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                    SERVE:
         Henry Schein, Inc.
        ____________________________________________              ____________________________________________
        Name                                                      Name
         17897 Chesterfield Airport Rd.
        ____________________________________________              ____________________________________________
        Address                                                   Address
         Chesterfield, MO 63005
        ____________________________________________              ____________________________________________
        City/State/Zip                                            City/State/Zip

        SERVE:                                                    SERVE:
        ____________________________________________              ____________________________________________
        Name                                                      Name
        ____________________________________________              ____________________________________________
        Address                                                   Address
        ____________________________________________              ____________________________________________
        City/State/Zip                                            City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                              /s/ Ronald J. Eisenberg, #48674
                                                                  ___________________________________________
                                                                  Attorney/Plaintiff/Petitioner
                                                                   Schultz & Associates LLP
                                                                  ___________________________________________
        By ________________________________________               Bar No.
            Deputy Clerk                                           640 Cepi Dr., Suite A, Chesterfield, MO 63005
                                                                  ___________________________________________
                                                                  Address
        ___________________________________________                (636) 537-4645               (636) 537-2599
                                                                  ___________________________________________
        Date                                                      Phone No.                                Fax No.



        CCADM62-WS         Rev. 03/14
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Local Rule 28. SPECIAL PROCESS SERVERS

     (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment.

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

            (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, or other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

            SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.

CCADM6-WS   Rev. 03/14
            Case: 4:17-cv-01370-JAR Doc. #: 1-1 Filed: 04/21/17 Page: 19 of 32 PageID #: 23

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 17SL-CC01069
 ELLEN HANNIGAN RIBAUDO
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
  BPP                                                           RONALD JAY EISENBERG
                                                                640 CEPI DRIVE
                                                                SUITE A
                                                          vs.   CHESTERFIELD, MO 63005
 Defendant/Respondent:                                          Court Address:
 HENRY SCHEIN, INC.                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Injunction                                                  CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: HENRY SCHEIN, INC.

  PERSON IN CHARGE
  17897 CHESTERFIELD AIRPORT RD
  CHESTERFIELD, MO 63005


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
                                     three business days in advance of the court proceeding.
      ST. LOUIS COUNTY

                                        22-MAR-2017                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       LNG
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                          Date                                       Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 17-SMCC-2261        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:17-cv-01370-JAR Doc. #: 1-1 Filed: 04/21/17 Page: 20 of 32 PageID #: 24
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.


                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 17-SMCC-2261    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:17-cv-01370-JAR Doc. #: 1-1 Filed: 04/21/17 Page: 21 of 32 PageID #: 25
   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 17-SMCC-2261   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:17-cv-01370-JAR Doc. #: 1-1 Filed: 04/21/17 Page: 22 of 32 PageID #: 26




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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 17-SMCC-2261   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:17-cv-01370-JAR Doc. #: 1-1 Filed: 04/21/17 Page: 23 of 32 PageID #: 27

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 17SL-CC01069
 ELLEN HANNIGAN RIBAUDO
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 BPP                                                            RONALD JAY EISENBERG
                                                                640 CEPI DRIVE
                                                                SUITE A
                                                         vs.    CHESTERFIELD, MO 63005
 Defendant/Respondent:                                          Court Address:
 HENRY SCHEIN, INC.                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Injunction                                                                                                                          (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: INTERGRATED MEDIA SOLUTIONS
                             DBA: INTERGRATED MEDIA SOLUTIONS, LLC
                             DBA: DENTAL PRODUCT SHOPPER
  PERSON IN CHARGE
  500 CRAIG RD., SUITE 101
  MANALAPAN, NJ 07726
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   22-MAR-2017                                            ____________________________________________________
                                   Date                                                                              Clerk
                                 Further Information:
                                 LNG
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.
OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-273           1         (17SL-CC01069)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
            Case: 4:17-cv-01370-JAR Doc. #: 1-1 Filed: 04/21/17 Page: 24 of 32 PageID #: 28
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-273     2        (17SL-CC01069)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
            Case: 4:17-cv-01370-JAR Doc. #: 1-1 Filed: 04/21/17 Page: 25 of 32 PageID #: 29

                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

 Your Rights and Obligations in Court Are Not Affected By This Notice

     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

    (2) Mediation: A process in which a neutral third party facilitates communication between the
 parties to promote settlement. An effective mediator may offer solutions that have not been considered
 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
 CCADM73
OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-273   3    (17SL-CC01069)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
            Case: 4:17-cv-01370-JAR Doc. #: 1-1 Filed: 04/21/17 Page: 26 of 32 PageID #: 30


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

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procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-273   4   (17SL-CC01069)       Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
                                                                                                                                                                  Electronically Filed - St Louis County - March 22, 2017 - 05:41 PM
           Case: 4:17-cv-01370-JAR Doc. #: 1-1 Filed: 04/21/17 Page: 27 of 32 PageID #: 31


                 IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                            Case Number: 17SL-CC01069
 ELLEN HANNIGAN RIBAUDO
 Plaintiff/Petitioner:                                         Plaintiff's/Petitioner's Attorney/Address
  BPP                                                          RONALD JAY EISENBERG
                                                               640 CEPI DRIVE
                                                               SUITE A
                                                         vs.   CHESTERFIELD, MO 63005
 Defendant/Respondent:                                         Court Address:
 HENRY SCHEIN, INC.                                            ST LOUIS COUNTY COURT BUILDING
                                                               105 SOUTH CENTRAL AVENUE
 Nature of Suit:
                                                               CLAYTON, MO 63105
 CC Injunction                                                                                                               (Date File Stamp)
                                                            Summons in Civil Case
      The State of Missouri to: HENRY SCHEIN, INC.

  PERSON IN CHARGE
  17897 CHESTERFIELD AIRPORT RD
  CHESTERFIELD, MO 63005


         COURTSEAL OF                      You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                    which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                     above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                     file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                           SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                  ou               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-6154567, at least
                                   three business days in advance of the court proceeding.
        ST. LOUIS COUNTY

                                      22-MAR-2017                                                                      _______________________
                                       Date
                                     Further Information:
                                     LNG
                                                                Sheriff's or Server's Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
     [delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
      LI  leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                    a person of the Defendant's/Respondent's family over the age of 15 years.
        j (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                  ExLv. H-v I h rook           1                                 (name)    &o1A J                                                (title).

      LI other
    Served at __          1        fiA    €4 P4 4t7 pork RxcL                                  o*xe..M, M                        01) ç       (address)
                           LCIAtA.+II .      (County/City of St. Louis), MO, on ((    Ff22_/2.r)1                 (date)at     3'.n,        ,v     (time).
        3                : M Ivilaq
                               D                                                                      V                    -
            --         9rntd Name of SMor Server                                                           Signature of SlóM'or Server
                                  Must be sworn before a notary public if not served by an authorized officer:
                                  Subscribed and sworn to before me on 0 3/2.2../7_Qi1                                    (date).
            'Sea')
                                  My commission expires: Of//7/!
                                                                          Date                 -                          Notary Public

                                                                   At                 ENAZE
                                                                   Notary Pub( :oly Seal
                                                                      State 't Msouri
                                                                          St.             (7untY
                                                                     CornmiS0                7219842
                                                                                                O1-17-2021
                                                                   CorDmis5' F.


OSCA (7-99) SM30 (SMCC) For Court Use Only: Document 1134 17-SMCC-2261       1      (Civil Procedure Form No. 1, Rules 54.01 —54.05,
                                                                                                          54.13, and 54.20; 506.120 - 506.140, and 506.150 RSMo
                                                                                                 Electronically Filed - St Louis County - March 22, 2017 - 05:41 PM
  Case: 4:17-cv-01370-JAR Doc. #: 1-1 Filed: 04/21/17 Page: 28 of 32 PageID #: 32




                    AFFIDAVIT OF SERVICE

COMES NOW, Janet Momanyi and states that 011 March 22, 2017 she did serve a Summons;

Class Action Junk-Fax Petition; and Exhibit 1 in re: Cause Number 17SL-CColo69, Circuit Court

of St. Louis County, Missouri on Erin Holbrook, Regional Manager at 17897 Chesterfield Airport

Road, Chesterfield, MO 63005 at 3:30 p.m. o'clock on behalf of Henry Schein, INC via hand

delivery.


Description:

The person served was approximately: Skin Color: White, Hair Color: Blond, Gender: Female,

Height: 5'4", Weight: 120, Age: approximately 35.




                                                                        Janet Momanyi

                                                                 Special Process Server
                                                                 113 Briehall Circle
                                                                 Maryland Heights, MO
                                                                 63043




Listed and subscribed before me this Twenty-Second day of March 2017.           -      I




                   E =
                     7
                        SEGOLENiE CATHLEEN RENAZE



                      ,7:7
                           Notary Public, Notary Seal
                               State of Missouri
                                St. Louis County
                            COMMission # 17219                   ryPu~
                                                         __'~~~NotN blic
                                                                                                                                                                  Electronically Filed - St Louis County - March 22, 2017 - 05:41 PM
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                 IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                            Case Number: 17SL-CC01069
 ELLEN HANNIGAN RIBAUDO
 Plaintiff/Petitioner:                                         Plaintiff's/Petitioner's Attorney/Address
  BPP                                                          RONALD JAY EISENBERG
                                                               640 CEPI DRIVE
                                                               SUITE A
                                                         vs.   CHESTERFIELD, MO 63005
 Defendant/Respondent:                                         Court Address:
 HENRY SCHEIN, INC.                                            ST LOUIS COUNTY COURT BUILDING
                                                               105 SOUTH CENTRAL AVENUE
 Nature of Suit:
                                                               CLAYTON, MO 63105
 CC Injunction                                                                                                               (Date File Stamp)
                                                            Summons in Civil Case
      The State of Missouri to: HENRY SCHEIN, INC.

  PERSON IN CHARGE
  17897 CHESTERFIELD AIRPORT RD
  CHESTERFIELD, MO 63005


         COURTSEAL OF                      You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                    which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                     above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                     file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                           SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                  ou               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-6154567, at least
                                   three business days in advance of the court proceeding.
        ST. LOUIS COUNTY

                                      22-MAR-2017                                                                      _______________________
                                       Date
                                     Further Information:
                                     LNG
                                                                Sheriff's or Server's Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
     [delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
      LI  leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                    a person of the Defendant's/Respondent's family over the age of 15 years.
        j (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                  ExLv. H-v I h rook           1                                 (name)    &o1A J                                                (title).

      LI other
    Served at __          1        fiA    €4 P4 4t7 pork RxcL                                  o*xe..M, M                        01) ç       (address)
                           LCIAtA.+II .      (County/City of St. Louis), MO, on ((    Ff22_/2.r)1                 (date)at     3'.n,        ,v     (time).
        3                : M Ivilaq
                               D                                                                      V                    -
            --         9rntd Name of SMor Server                                                           Signature of SlóM'or Server
                                  Must be sworn before a notary public if not served by an authorized officer:
                                  Subscribed and sworn to before me on 0 3/2.2../7_Qi1                                    (date).
            'Sea')
                                  My commission expires: Of//7/!
                                                                          Date                 -                          Notary Public

                                                                   At                 ENAZE
                                                                   Notary Pub( :oly Seal
                                                                      State 't Msouri
                                                                          St.             (7untY
                                                                     CornmiS0                7219842
                                                                                                O1-17-2021
                                                                   CorDmis5' F.


OSCA (7-99) SM30 (SMCC) For Court Use Only: Document 1134 17-SMCC-2261       1      (Civil Procedure Form No. 1, Rules 54.01 —54.05,
                                                                                                          54.13, and 54.20; 506.120 - 506.140, and 506.150 RSMo
                                                                                                 Electronically Filed - St Louis County - March 22, 2017 - 05:41 PM
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                    AFFIDAVIT OF SERVICE

COMES NOW, Janet Momanyi and states that 011 March 22, 2017 she did serve a Summons;

Class Action Junk-Fax Petition; and Exhibit 1 in re: Cause Number 17SL-CColo69, Circuit Court

of St. Louis County, Missouri on Erin Holbrook, Regional Manager at 17897 Chesterfield Airport

Road, Chesterfield, MO 63005 at 3:30 p.m. o'clock on behalf of Henry Schein, INC via hand

delivery.


Description:

The person served was approximately: Skin Color: White, Hair Color: Blond, Gender: Female,

Height: 5'4", Weight: 120, Age: approximately 35.




                                                                        Janet Momanyi

                                                                 Special Process Server
                                                                 113 Briehall Circle
                                                                 Maryland Heights, MO
                                                                 63043




Listed and subscribed before me this Twenty-Second day of March 2017.           -      I




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                     7
                        SEGOLENiE CATHLEEN RENAZE



                      ,7:7
                           Notary Public, Notary Seal
                               State of Missouri
                                St. Louis County
                            COMMission # 17219                   ryPu~
                                                         __'~~~NotN blic
                                                                                  Electronically Filed - St Louis County - April 10, 2017 - 03:28 PM
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                                                                                  Electronically Filed - St Louis County - April 10, 2017 - 03:28 PM
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